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AO 442 (Rev Il/Il) Arrest Wanaru



                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                       District of New Jersey


                   United States of America


                     MOHSIN RAZA and
                                                                           Case No.    Crim. No 20-       97—c!
                     MUJTABAALIRAZA
                                                                )
                                                                )
                                                                )
                           Defendant


                                                   ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANJ)ED to arrest and bring before a United States magistrate judge without unnecessary delay
‘name ofperson to be arrested,
                             MDHSIN RAZA
who is accused of an offense or violation based on the following document filed :ith the court:

W     Indictment         9 Superseding Indictment       9 Infornation         3 Superseding Information                 9 Complaint
3 Probation Violation Petition          3 Supervised Release Violation Petition          3 Violation Notice             3 Order of the Court

This offense is briefly described as follows:
  16 U.S.C. Sections 1028(f) (conspiracy to produce and transfer false documents), 1028(a)(2) (transfer of false
  documents), 1543 (false use of passports), and 1028A (aggravated identity theft)




Date:         0112812020


City and state:          NeJxy                 —__________
                                                                                        Hon.    IJnitM      States Magi
                                                                                           fl) tied   nanle and title


                                                              Return

          This warrant was received on ‘Wate                            and the person was arrested on (date)
at (rio and state)


Date:
                                                                                         Arresting offlcers signature



                                                                                           Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        j’Not for Public Disclosure,)

Name of defendant/offender:              Mohsin Raza

Known aliases:

Last known residence:                 Flat No. Z-402 Zambia Garden Plot No. 262, Soldier Bazar #3, Garden East, Karachi, Pakistan

Prior addresses to which defendantoffender may still have ties:                               —.




Last known employment:

Last    known   telephone   numbers:




Place of birth:            Pakistan

Date of birth:             05/25/1986

Social Security number:                 421-98261523

Height:                                                                 Weight:                    —_______________________________________




Sex:      Male                                                          Race:

Hair:                                                                   Eyes:

Scars, tattoos, other distinguishing marks:




History of violence. weapons. drug use:



Known family, friends, and other associates (name, relation, address,   p/tone   ‘n”nhe”i:


FBI number:
Complete description of auto:



Investigative agency and address:             Federal Bureau of Investigation    -   11 Centre Place, Newark,   NJ 07102


Name and telephone numbers (office and cell) of pretrial services or probation officer qfapphcablej:




Date of last contact with pretrial services or probation officer (,fappi/cablej:
